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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
LARRY TRENT ROBERTS,                                        :      Civil No. 1:21-CV-01140
                                                            :
                  Plaintiff,                                :
                                                            :
                  v.                                        :
                                                            :
DAVID LAU, et al.,                                          :
                                                            :
                  Defendants.                               :    Judge Jennifer P. Wilson
                        AMENDED CASE MANAGEMENT ORDER
         AND NOW, on this 28th day of January, 2025, following a telephone

conference on January 22, 2025, IT IS ORDERED THAT the case management

deadlines are amended as follows:

          Status Conference:1                                                May 21, 2025, at 8:45 a.m.
          Discovery Disputes:                                                May 19, 2025
          Fact discovery:                                                    June 30, 2025
          Dispositive motions and supporting briefs:                         July 31, 2025
          Plaintiff’s expert reports:                                        July 31, 2025
          Defendant’s expert reports:                                        September 5, 2025
          Supplemental and rebuttal expert reports:                          September 19, 2025
          Expert discovery:                                                  October 17, 2025
          Motions in limine and supporting briefs:                           November 5, 2025
          Pretrial memoranda:                                                December 3, 2025
          Proposed voir dire and jury instructions:                          December 3, 2025




1
  The parties shall call-in to the conference calling number 717-638-8977, using the phone conference ID 432 592
125#. Counsel should be aware that this is a conference calling number that is utilized for multiple calls scheduled in
ten- or fifteen-minute intervals. If you dial in and another call is in progress, please wait until the courtroom deputy
announces your case. The courtroom deputy is aware when a new caller joins the conference. You should follow
the same etiquette expected when you enter a courtroom and a proceeding is in progress. When your case is called,
state your name and client. Be advised that court staff are monitoring the conference at all times.
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          Trial:2                                                             January 5, 2026

                                                       s/Jennifer P. Wilson
                                                       JENNIFER P. WILSON
                                                        United States District Judge
                                                       Middle District of Pennsylvania




2
 The court schedules every civil case on its docket on a trial list date. A trial list date is distinct from a trial date
certain. The court will schedule a trial date certain by means of a separate scheduling order after conferring with
counsel about the selection of a trial date certain. If any dispositive motion is filed in this case, the court will
generally continue the trial list date and stay the pretrial deadlines pending resolution of the dispositive
motion. However, if no dispositive motion is filed in this case, the court will convene a telephone status conference
with counsel to select a trial date certain.
